3/6/2019                                     Loevy
                Case: 1:17-cv-08291 Document #:    & Loevy
                                                111-2      Mail - Jaimes:
                                                        Filed:    03/06/19Following
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                                                                                      Danielle Hamilton <hamilton@loevy.com>



  Jaimes: Following Up
  Danielle Hamilton <hamilton@loevy.com>                                                              Tue, Jan 22, 2019 at 2:22 PM
  To: Katie Roche <katie@loevy.com>
  Cc: Elizabeth Ekl <eekl@reiterburns.com>, Michael Kanovitz <mike@loevy.com>

    Hi Beth, thanks for the personnel records and additional policies you produced last week. We're writing to check on the
    status of the remaining outstanding discovery--the insurance policies, IAPro reports, Monell discovery, and Erika's
    Sheriff's Police Department application and test results. Please let us know when we can expect them.

    Thanks,
    Danielle


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